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                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE

      In re:                                                Chapter 7

      DURA AUTOMOTIVE SYSTEMS, LLC, et Case No. 19-12378 (KBO)
      al. 1,
                                       (Jointly Administered)
               Debtors.

                                  NOTICE OF AGENDA FOR HEARING
                             SCHEDULED FOR JUNE 22, 2022 AT 1:00 P.M. (ET)

                 THIS HEARING HAS BEEN CANCELED BY THE COURT.
MATTER WITH CERTIFICATION OF COUNSEL

          1.       Application of Jeoffrey L. Burtch, Chapter 7 Trustee to Employ Bederson LLP as
                   Accountant [docket no. 1409; filed: 6/1/22]

                   Related Documents:

                   A)       Order Authorizing Chapter 7 Trustee to Employ Bederson LLP as Accountant
                            [docket no. 1413; entered: 6/17/22]

                   Response Deadline:        June 15, 2022

                   Responses Filed:          None.

                   Status: An order regarding this matter has been entered by the Court.

Dated: June 17, 2022                                 /s/ Gregory F. Fischer
                                                     Gregory F. Fischer (DE 5269)
                                                     Cozen O’Connor
                                                     1201 N. Market Street, Suite 1001
                                                     Wilmington, DE 19801-1147
                                                     Telephone (302) 295-2000
                                                     gfischer@cozen.com
                                                     Counsel to the Chapter 7 Trustee




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    The debtor entities in these chapter 11 cases, along with the last four digits of each Debtor entity’s federal tax
    identification number, are: Dura Automotive Systems Cable Operations, LLC (7052); Dura Automotive Systems, LLC
    (8111); Dura Fremont L.L.C. (1252); Dura G.P. (8092); Dura Mexico Holdings, LLC (4188); Dura Operating, LLC
    (2304); and NAMP, LLC (3693). Dura Automotive Systems, LLC’s service address is: 1780 Pond Run, Auburn Hills,
    Michigan 48326.
